
PER CURIAM.
In this appeal from a juvenile disposition, the State concedes that the trial court erred by assessing costs of prosecution. See D.A. v. State, 11 So.3d 423 (Fla. 4th DCA 2009) (holding that section 938.27(1), Florida Statutes, does not authorize courts to impose costs of prosecution on a juvenile adjudicated delinquent). Accordingly, we remand with directions that these costs be stricken. In all other respects, the adjudications of delinquency and disposition are affirmed.
AFFIRMED IN PART, REVERSED IN PART AND REMANDED WITH DIRECTIONS.
MONACO, C.J., LAWSON and JACOBUS, JJ., concur.
